The question is whether the plea, under the facts found, forms a bar to this indictment.
The punishment for the contempt is not a bar to this prosecution. The first was in the exercise of a power incident to all courts of record, and essential to the administration of the laws. The punishment, in such cases, must be immediate, or it would be ineffectual, as it is designed to suppress an outrage which impedes the business of the court. The indictment for the assault leads to the correction of the party for the disturbance of the public peace. Although but one injury is done to the individual assaulted, yet the same act constitutes two public offenses, which, according to the circumstances, might require different degrees of punishment. The court may punish, in a summary way, its officers abusing its process by oppressing the parties, or committing extortion, fraud or malpractice; yet none of these offenses are merged in the contempt. If parties concerned in a cause are libeled, this amounts to a contempt of the court, and may be punished in a summary way; but may not the offender also be indicted? The same consequence would seem to follow in cases of rescue, where the party (134) might be punished both for the contempt and the misdemeanor. One offense violates the law which protects courts of justice and stamps an efficient character on their proceedings; the other is leveled against the general law, which maintains the public order and tranquility.
Cited: S. v. Woodfin, 27 N.C. 200; Baker v. Cordon, 86 N.C. 120; Inre Deaton, 105 N.C. 64; S. v. Robinson, 116 N.C. 1048.